Case 1:23-cv-00108-LMB-JFA Document 1203-28 Filed 08/23/24 Page 1 of 3 PageID# 89251




                           Exhibit 31
   Case 1:23-cv-00108-LMB-JFA Document 1203-28 Filed 08/23/24 Page 2 of 3 PageID# 89252
  Message
  From:        Mike Schulman [mschulman@google.com]
  Sent:        10/9/2020 10:53:34 PM
  To:          Danielle Romain [dromain@google.com]
  CC:          Carlos Kirjner [kirjner@google.com]; Andy Miller [andymiller@google.com]; Atanas Vlahov [atanas@google.com];
               Gabe Kronstadt [gabekronstadt@google.com]; Jerry Disch Ier [jdischler@google.com]; Ted Lazarus
               [tlazarus@google.com]; Vidhya Srinivasan [vids@google.com]
  Subject:     Re: [PRIVILEGED] Privacy Impact on 2021 Forecast


  Thanks!

  On Fri, Oct 9, 2020 at 6:51 PM Danielle Romain <dromain@google.com> wrote:
   Sounds good. Thanks.

   On Fri, Oct 9, 2020 at 3:47 PM Carlos Kirjner <kirjner@google.com> wrote:
    Privileged

    Jerry and I discussed this yesterday. Gabe and team will reach out to Mike, Vidhya and others as appropriate
    on how finance can partner with the team on this. Specifically, we aim to understand what decisions and
    comms will happen when and ensure finance is deep enough in the effort to provide the input needed.

    C




    On Wed, Oct 7, 2020 at 10:47 AM Danielle Romain <dromain@google.com> wrote:
     PRIVILEGED AND CONFIDENTIAL

     Ted, please advise.

     Hi team: good morning. During Jerry's leadership team meeting yesterday, there was discussion on the path
     forward on our privacy and measurement strategies for next year. To summarize some of the take-aways:

     1. There's concern that we don't yet have reasonable (net) revenue impact estimates for some of the larger
     privacy related product strategies the team is considering including 3P cookie deprecation, link decoration
     deprecation, expanded use of federated learning for measurement.

     2. The likely $5B+ magnitude of these strategies is large enough that we have a responsibility to inform
     Google Leads before making a go/no go decision, and understanding Leads' expectation on how much of the
     growth gap Ads needs to close in 2021.

     3. There are potential resourcing implications that we need to enumerate as part of 2021 Plan. This is related
     in part to Trust planning that's happening somewhat in parallel.

     Given the above, I'd like to ask for your help to partner with Jerry's Directs and their teams to size the impact
     of the major privacy strategies under consideration for 2021, and how we plan to incorporate those (or not) in
     the 2021 plan forecast.

     Happy to answer questions or provide further context if helpful.

     Thanks,




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   Case 1:23-cv-00108-LMB-JFA Document 1203-28 Filed 08/23/24 Page 3 of 3 PageID# 89253
     DR




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